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Tampa Bread, LLC
4616 Dillwyn Dr.
Lakeland FL 33813



To:

Honorable Carl J. Nichols

United States District Judge

United States Courthouse

333 Constitution Avenue, N.W

Washington D.C. 20001

RE: Case No. 21-cr-00447-CJN-03

        USA v. Joshua C. Doolin

Dear Honorable Judge Nichols

        My name is Aldon Haskaj. I own a local small business here in Lakeland, FL. We operate a bread
delivery route in the Tampa Bay area. Our company is called Tampa Bread.

        I have known Josh a little over a year, since he was in Firefighting School, meeting him through
my sister-in-law. He’s an extremely honest and bright young man, with a lot of drive and a strong
dedication to his faith. He is also an excellent husband (recently getting married) and looking forward to
having children and growing his family.

         I remember telling my wife I wish I could find employees like him. I reached out to Mr. Doolin
for employment after hearing he was looking and he was ready to join the team. We operate the route 3
times a week, Monday, Wednesday and Friday, and usually work from midnight till about noon. Mr.
Doolin will be mostly working in the Pinellas/Pasco Counties but will also be doing sales closer to home,
in Polk County, on his days off. He has been a great addition to our small crew and has caught on to the
nature of the work quickly. I hope to have him for years to come but I understand his dream job is and
will always be a firefighter/EMT and I will gladly recommend him for when that time comes once again.

        I ask that you treat this young man with some leniency,

                                                                  Dated this Monday, July 26th, 2021




                                                                  Aldon Haskaj

                                                                  Tampa Bread, LLC

                                                                  Lakeland FL
